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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 DAVID GIROUX, derivatively on behalf of
 ACER THERAPEUTICS, INC.

                        Plaintiff,                   VERIFIED STOCKHOLDER
                                                     DERIVATIVE COMPLAINT
           v.

 JASON AMELLO, STEVE ASELAGE,                        DEMAND FOR JURY TRIAL
 HUBERT BIRNER, JOHN M. DUNN,
 MICHELLE GRIFFIN, LUC MARENGERE,
 HARRY PALMIN, and CHRIS                             Case No.: 1:20-cv-10537
 SCHELLING,

                        Defendants,

     and

 ACER THERAPEUTICS, INC.,

                        Nominal Defendant.


       Plaintiff David Giroux (“Plaintiff”), by and through his undersigned counsel, derivatively

on behalf of nominal defendant Acer Therapeutics, Inc. (“Acer” or the “Company”), submits this

Verified Stockholder Derivative Complaint against the Individual Defendants (defined herein) as

officers and/or directors of Acer for breaches of fiduciary duty, waste of corporate assets, and

violations of Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”). Plaintiff

bases his allegations on personal knowledge as to his own acts, and on information and belief as

to all other allegations, based upon investigation by counsel, including, but not limited to, a review

and analysis of: (i) regulatory filings made by Acer with the United States Securities and Exchange

Commission (the “SEC”); (ii) press releases issued and disseminated by Acer; (iii) a purported

securities class action lawsuit filed in the United Stated District Court for the Southern District of

New York, captioned Sell v. Acer Therapeutics, Inc., Case No. 1:19-cv-06137-GHW (S.D.N.Y.)
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(the “Securities Class Action”), alleging violations of the federal securities laws based on similar

facts and circumstances as alleged herein; and (iv) other publicly-available information, including

media and analyst reports, concerning Acer.

                        NATURE OF THE ACTION AND OVERVIEW

       1.       This is a stockholder derivative action that seeks to remedy wrongdoing committed

by certain of Acer’s officers and members of the Company’s Board of Directors (the “Board”) and

their affiliates. Plaintiff seeks to remedy Defendants’ violations of state and federal laws from

September 25, 2017 through June 24, 2019 (the “Relevant Period”) that have caused and continue

to cause substantial monetary damages to Acer and other damages, including damages to its

reputation and goodwill.

       2.       Acer is a pharmaceutical company focused on the acquisition, development, and

commercialization of therapies for serious rare and life-threatening diseases with significant unmet

medical needs. Acer’s pipeline purportedly includes three clinical-stage candidates: EDSIVO™

(“EDSIVO” or “celiprolol”) for the treatment of vascular Ehlers-Danlos syndrome (“vEDS”) in

patients with a confirmed type III collagen (“COL3A1”) mutation; ACER-001—a fully taste-

masked, immediate release formulation of sodium phenylbutyrate—for the treatment of various

inborn errors of metabolism, including urea cycle disorders and Maple Syrup Urine Disease; and

osanetant for the treatment of induced Vasomotor Symptoms where Hormone Replacement

Therapy is likely contraindicated.

       3.       During the Relevant Period, Acer, to satisfy its need for cash to fund its operations,

conducted two public offerings in December 2017 and August 2018, raising $12.56 million and

$46 million, respectively.

       4.       In doing so, the Individual Defendants represented to Acer’s investors that the

Company purportedly had an “agreement” with the U.S. Food and Drug Administration (the


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“FDA”) that further clinical development beyond a study conducted in France, which was

published in October 2010 (the “Ong Trial”), “is not needed” or “is not likely needed.”

       5.       Contrary to the Individual Defendants’ representations as to the likelihood of

obtaining FDA approval for EDSIVO, the Ong Trial’s data was fundamentally flawed, precluding

FDA approval.

       6.       Further, the Individual Defendants misrepresented the Company’s communications

with the FDA regarding EDSIVO. In reality, Acer and the FDA did not reach an agreement that

the Company would not need to conduct additional clinical studies beyond the already-completed

Ong Trial.

       7.       The Individual Defendants also failed to disclose to investors that the FDA did not

consider the Ong Trial an “adequate and well-controlled” trial based on the severe imbalance

between the trial’s experimental and control arms as to the number of patients confirmed as

suffering from vEDS. Indeed, the mutation data revealed that the Ong Trial was biased and very

underpowered, which was a serious hurdle to FDA approval.

       8.       Despite these detrimental facts, the Individual Defendants painted a rosy prospect

for EDSIVO by stating that the Company was: (i) working collaboratively with the FDA;

accelerating pre-commercial activities for EDSIVO; (ii) expanding senior-level commercial and

medical affairs teams; and (iii) seeking “priority review” of the Company’s new drug application

(“NDA”) for EDSIVO.

       9.       Further, during the Relevant Period, the Director Defendants (defined herein)

negligently issued a materially false and misleading proxy statement urging stockholders to reelect

certain of the Individual Defendants under false pretenses.




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       10.     As a direct and proximate result of the Individual Defendants’ breaches of fiduciary

duties and other misconduct, Acer has sustained damages as described below.

                                 JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act (15 U.S.C.

§ 78n), and SEC Rule 14a-9 (17 C.F.R. § 240.14a-9) promulgated thereunder.

       12.     Plaintiff’s claims also raise a federal question pertaining to the claims made in the

Securities Class Action based on violations of the Exchange Act.

       13.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       14.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       15.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because

Acer is headquartered in this District. In addition, Defendants have conducted business in this

District, and Defendants’ actions have had an effect in this District.

                                             PARTIES

       16.     Plaintiff is a current stockholder of Acer common stock. Plaintiff has continuously

held Acer common stock since at least September 2017.

       17.     Acer is a Delaware corporation with its principal executive offices at One Gateway

Center, Suite 351, 300 Washington Street, Newton, Massachusetts 02458. Acer’s common stock

trades on the Nasdaq Capital Market (“NasdaqCM”) under the ticker symbol “ACER.”

       18.     Defendant Jason Amello (“Amello”) has served as a director of the Board since

September 2017. Defendant Amello also served as a member of the Company’s Audit Committee

during the Relevant Period.


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          19.   Defendant Steve Aselage (“Aselage”) has served as a director of the Board since

September 2017.

          20.   Defendant Hubert Birner (“Birner”) served as a director of the Board between

September 2017 and May 2019.

          21.   Defendant John M. Dunn (“Dunn”) has served as a director of the Board since

September 2017. Defendant Dunn also served as a member of the Company’s Audit Committee

during the Relevant Period.

          22.   Defendant Michelle Griffin (“Griffin”) has served as a director of the Board since

September 2017. Defendant Griffin also served as Chair of the Company’s Audit Committee

during the Relevant Period.

          23.   Defendant Luc Marengere (“Marengere”) served as a director of the Board between

September 2017 and May 2019.

          24.   Defendant Harry Palmin (“Palmin”) has served as the Company’s Chief Financial

Officer since September 2017. Defendant Palmin is named as a defendant in the Securities Class

Action.

          25.   Defendant Chris Schelling (“Schelling”) has served as the Company’s Chief

Executive Officer (“CEO”) and President and as a director of the Board since September 2017.

Defendant Schelling is named as a defendant in the Securities Class Action.

          26.   Defendants Palmin and Schelling are sometimes referred to herein as the

“Securities Class Action Defendants.”

          27.   Defendants Amello, Aselage, Birner, Dunn, Griffin, Marengere, and Schelling are

sometimes referred to herein as the “Director Defendants.”




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       28.     Defendants Amello, Dunn, and Griffin are sometimes referred to herein as the

“Audit Committee Defendants.”

       29.     Defendants Amello, Aselage, Birner, Dunn, Griffin, Marengere, Palmin, and

Schelling are sometimes referred to herein as the “Individual Defendants.”

                       DUTIES OF THE INDIVIDUAL DEFENDANTS

       30.     By reason of their positions as officers and/or directors of the Company, and

because of their ability to control the corporate affairs and business of the Company, the Individual

Defendants owed the Company and its stockholders fiduciary obligations of good faith, trust,

loyalty, and due care, and were and are required to use their best efforts to control and manage the

Company in a fair, just, honest, and equitable manner. The Individual Defendants were and are

required to act in furtherance of the best interests of the Company and its stockholders so as to

benefit all stockholders equally and not in furtherance of their personal interest or benefit. Each

director and officer of the Company owes to the Company and its stockholders the fiduciary duty

to exercise good faith and diligence in the administration of the Company’s affairs and in the use

and preservation of its property and assets, and the highest obligations of fair dealing.

       31.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of the Company, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein.

       32.     In addition, as officers and/or directors of a publicly-held company, the Individual

Defendants have a duty to promptly disseminate accurate and truthful information with regard to

the Company’s operations, performance, management, projections, and forecasts so that the

market price of the Company’s stock will be based on truthful and accurate information.

       33.     To discharge their duties, the officers and directors of Acer were required to

exercise reasonable and prudent supervision over the management, policies, practices, and controls


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of the Company. By virtue of such duties, the officers and directors of Acer were required to,

among other things:

       a.       ensure that the Company complied with its legal obligations and requirements,
                including acting only within the scope of its legal authority and disseminating
                truthful and accurate statements to the SEC and the investing public;

       b.       conduct the Company’s affairs in a lawful, efficient, business-like manner so as to
                make it possible to provide the highest quality performance of its business, to avoid
                wasting the Company’s assets, and to maximize the value of the Company’s stock;

       c.       properly and accurately guide investors and analysts as to the true financial
                condition of the Company at any given time, including making accurate statements
                about the Company’s financial results and prospects, and ensuring that the
                Company maintained an adequate system of financial controls such that the
                Company’s financial reporting would be true and accurate at all times;

       d.       remain informed as to how the Company conducted its operations, and, upon
                receipt of notice or information of imprudent or unsound conditions or practices,
                make reasonable inquiry in connection therewith, and take steps to correct such
                conditions or practices and make such disclosures as necessary to comply with
                federal and state securities laws; and

       e.       ensure that the Company was operated in a diligent, honest, and prudent manner in
                compliance with all applicable federal, state, and local laws, rules and regulations.

       34.      Each of the Individual Defendants, as an executive officer and/or director, owed to

the Company and to its stockholders the fiduciary duties of loyalty, good faith, and candor in the

management and administration of the Company’s affairs, as well as in the use and preservation

of its property and assets. The conduct of the Individual Defendants complained of herein involves

a knowing and culpable violation of their obligations as directors and officers of the Company, the

absence of good faith on their part, and a reckless disregard for their duties to the Company and

its stockholders that the Individual Defendants were aware or should have been aware posed a risk

of serious injury to the Company.

       35.      According to the Company’s Corporate Governance Guidelines, the Director

Defendants are required to “exercise its powers in accordance with its fiduciary duties to the



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Company and in a manner it reasonably believes to be in the best interests of the Company and its

stockholders.” Further, the Corporate Governance Guidelines state that the Board must “oversee

senior management in the competent and ethical operation of the Company.”

       36.     The Company also maintains a Code of Business Conduct and Ethics (the “Code”).

The Code sets forth legal and ethical standards of conduct for directors, officers, employees, and

consultants of Acer and its subsidiaries.

       37.     According to the Code, the employees and directors of Acer are responsible for

helping Acer maintain its good reputation and the trust and confidence of its stockholders, its

employees, the public, and those with whom Acer does business.

       38.     Pursuant to the Code:

       A.      Honest and Candid Conduct

               Representatives are expected to act and perform their duties ethically and
       honestly with the utmost integrity. Honest conduct is considered to be conduct that
       is free from fraud or deception. Ethical conduct is considered to be conduct
       conforming to accepted professional standards of conduct. Ethical conduct includes
       the ethical handling of actual or apparent conflicts of interest between personal and
       professional relationships as discussed below.

       B.      Conflicts of Interest

               A conflict of interest exists when an individual’s private interest interferes
       or appears to interfere with the interests of the Company. A conflict of interest can
       arise when a Representative takes actions or has interests that may make it difficult
       to perform his or her Company work objectively and effectively. For example, a
       conflict of interest would arise if a Representative, or a member of his or her family,
       receives improper personal benefits as a result of his or her position in the
       Company. While it is not possible to describe every situation in which a conflict
       of interest may arise, Representatives must never use or attempt to use their position
       with the Company to obtain improper personal benefits

       C.      Accuracy of Financial Reports and Other Public Communications

               The Company, as a public company, is subject to various securities laws,
       regulations and reporting obligations. Both federal law and our policies require the
       disclosure of accurate and complete information regarding the Company’s
       business, financial condition and results of operations which may be filed with, or


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       submitted to, the SEC and other regulators or disseminated publicly. Inaccurate,
       incomplete or untimely reporting will not be tolerated and can severely damage the
       Company and result in legal liability.

               Senior Financial Officers are responsible for ensuring that the disclosure in
       the Company’s periodic reports is full, fair, accurate, timely and understandable. In
       doing so, Senior Financial Officers shall take such action as is reasonably
       appropriate to (i) establish and comply with disclosure controls and procedures and
       accounting and financial controls that are designed to ensure that material
       information relating to the Company is made known to them, (ii) confirm that the
       Company’s periodic reports comply with the requirements of Section 13(a) or 15(d)
       of the Securities Exchange Act of 1934, and (iii) ensure that information contained
       in the Company’s periodic reports fairly presents in all material respects the
       financial condition and results of operations of the Company.

       D.       Compliance with Laws and Regulations

               It is the Company’s policy to comply with all applicable laws, rules, and
       regulations. It is the personal responsibility of each Representative to adhere to the
       standards and restrictions imposed by those laws, rules, and regulations. In
       performing his or her duties, each Representative will endeavor to comply, and take
       appropriate action within his or her areas of responsibility to cause the Company to
       comply, with applicable governmental laws, rules, and regulations.

       39.      In addition, the Company’s Audit Committee is specifically tasked with the Board’s

oversight responsibilities.   The conduct of the Audit Committee is governed by the Audit

Committee Charter (the “Charter”).

       40.      Pursuant to the Charter:

       The purposes of the [Audit] Committee [the “Committee”] are to assist the Board
       in its oversight of:

       1.     the integrity of the Company’s financial statements, financial reporting
       process, and systems of internal controls related to finance, accounting, legal and
       regulatory compliance; and

       2.       the independent auditors’ qualifications, independence and performance.

       The function of the Committee is oversight. The management of the Company is
       responsible for the preparation, presentation, and integrity of the Company’s
       financial statements. Management is responsible for maintaining appropriate
       accounting and financial reporting principles and policies and internal controls and
       procedures that provide for compliance with accounting standards and applicable
       laws and regulations. The independent auditors are responsible for planning and


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carrying out a proper audit of the Company’s annual financial statements, reviews
of the Company’s quarterly financial statements prior to the filing of each quarterly
report on Form 10-Q, and other procedures. In fulfilling their responsibilities
hereunder, it is recognized that members of the Committee are not employees of
the Company and are not, and do not represent themselves to be, performing the
functions of auditors or accountants. As such, it is not the duty or responsibility of
the Committee or its members to conduct “field work” or other types of auditing or
accounting reviews or procedures or to set auditor independence standards.

                                   *       *       *

To carry out its purposes, the Committee shall have the following duties and
powers:

                                   *       *       *

2.     with respect to financial reporting principles and policies and internal
controls and procedures:

        (i)    to advise management and the independent auditors that they are
expected to provide to the Committee a timely analysis of significant financial
reporting issues and practices;

       (ii)    to consider any reports or communications (and management’s
responses thereto) submitted to the Committee by the independent auditors,
including reports and communications related to:

•    deficiencies noted in the audit in the design or operation of internal controls;

•    consideration of fraud in a financial statement audit;

•    detection of illegal acts;

•    any restriction on audit scope;

•    significant accounting policies;

•    management judgments and accounting estimates;

•    any accounting adjustments arising from the audit that were noted or proposed
     by the auditors but were passed (as immaterial or otherwise);

•    disagreements with management;

•    difficulties encountered with management in performing the audit;

•    the independent auditors’ judgments about the quality of the entity’s accounting
     principles; and


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•    reviews of interim financial information conducted by the independent auditors;

        (iii)   to meet with management and the independent auditors:

•    to review and discuss the annual audited financial statements and quarterly
     financial statements, including the Company’s disclosures under
     “Management’s Discussion and Analysis of Financial Condition and Results of
     Operations”;

•    to discuss any significant matters arising from any audit, including any audit
     problems or difficulties, whether raised by management or the independent
     auditors, relating to the Company’s financial statements;

•    to discuss any difficulties the independent auditors encountered in the course of
     the audit, including any restrictions on their activities or access to requested
     information and any significant disagreements with management;

•    to review the form of opinion the independent auditors propose to render to the
     Board and stockholders; and

•    to discuss, as appropriate: (a) any major issues regarding accounting principles
     and financial statement presentations, including any significant changes in the
     Company’s selection or application of accounting principles, and major issues
     as to the adequacy of the Company’s disclosure controls and procedures and
     internal control over financial reporting, and any special audit steps adopted in
     light of material control deficiencies; (b) analyses prepared by management
     and/or the independent auditors setting forth significant financial reporting
     issues and judgments made in connection with the preparation of the financial
     statements, including analyses of the effects of alternative GAAP methods on
     the financial statements; and (c) the effect of regulatory and accounting
     initiatives, as well as off-balance sheet structures, on the financial statements of
     the Company;

       (iv)   to discuss with management the Company’s major financial risk
exposures and the steps management has taken to monitor and control such
exposures, including the Company’s policies with respect to financial risk
assessment and financial risk management;

        (v)     to inquire of and review any disclosures made to the Committee by
the Company’s chief executive officer and chief financial officer (or persons
performing such functions) during their certification process for the Company’s
Form 10-K and Forms 10-Q as to the existence of any significant deficiencies or
material weaknesses in the design or operation of internal controls that could
adversely affect the Company’s ability to record, process, summarize and report
financial data, and any fraud, whether or not material, that involves management or
other employees who have a significant role in the Company’s internal controls;



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        (vi)    to discuss with the Company’s general counsel (or person or entity
performing such function) any significant legal, compliance or regulatory matters
that may have a material effect on the financial statements or the Company’s
business, financial statements or compliance policies, including material notices to
or inquiries received from governmental agencies;

       (vii) to discuss and review the type and presentation of information to be
included in earnings press releases;

       (viii) to establish procedures for the receipt, retention and treatment of
complaints received by the Company regarding accounting, internal accounting
controls or auditing matters, and for the confidential, anonymous submission by
Company employees of concerns regarding questionable accounting or auditing
matters; and

        (ix)    to review and approve where appropriate any proposed “related
person transactions” which may be required to be disclosed by the Company
(pursuant to Item 404 of Regulation S-K), based on all relevant facts and
circumstances reasonably available to the Committee (including, but not limited to:
the nature of the related person’s interest in the transaction; the material terms of
the transaction, including, without limitation, the amount and type of transaction;
the importance of the transaction to the related person; the importance of the
transaction to the Company; whether the transaction would impair the judgment of
a director or executive officer to act in the best interest of the Company; and any
other matters the Committee deems appropriate), where approval is given by the
Committee only for those transactions it determines are fair to and in the best
interests of the Company, taking into account all factors deemed relevant by the
Committee;

3.     with respect to reporting and recommendations,

        (i)    to recommend to the Board, based on its review and discussions with
management and the independent auditors, whether the Company’s audited
financial statements should be included in the Company’s annual report on Form
10-K;

        (ii) to prepare any report or other disclosures, including any
recommendation of the Committee, required by the rules of the SEC to be included
in the Company’s annual proxy statement;

       (iii) to review and reassess the adequacy of this Charter at least annually
and recommend any changes to the full Board;

       (iv)    to prepare and review with the Board an annual performance
evaluation of the Committee, which evaluation shall compare the performance of
the Committee with the requirements of this Charter;




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              (v)  to report its activities to the full Board on a regular basis and to make
       such recommendations with respect to the above and other matters as the
       Committee may deem necessary or appropriate;

              (vi)    in the case of matters concerning accounting, internal controls or
       auditing, to monitor compliance with the Company’s Code of Ethics and when
       appropriate, impose and enforce appropriate disciplinary measures for violations of
       the Code; and

               (vii) to review any proposed waiver of the Code and make a
       recommendation to the Board with respect to the disposition of any proposed
       waiver.

       41.     In violation of the Audit Committee Charter, and their general duties as members

of the Audit Committee, the Audit Committee Defendants conducted little, if any, oversight of the

Company’s internal controls or the Company’s compliance with legal and regulatory requirements

resulting in materially false and misleading statements regarding the Company’s business,

operational, and compliance policies, and consciously disregarded their duties to monitor such

controls over reporting. The Audit Committee Defendants’ complete failure to perform their

duties in good faith resulted in false statements to the SEC, the investing public, and the

Company’s stockholders.

       42.     In addition, as executive officers and directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the

Nasdaq, the Individual Defendants had a duty not to effect the dissemination of inaccurate and

untruthful information with respect to the Company’s financial condition, performance, growth,

operations, financial statements, business, products, management, earnings, internal controls, and

present and future business prospects, including false and misleading information about

acquisitions, so that the market price of the Company’s common stock would be based upon

truthful and accurate information. Accordingly, the Individual Defendants breached their fiduciary

duties by knowingly or recklessly causing Acer to make false and misleading statements of



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material fact about the Company’s financials and about Acer’s maintenance of adequate internal

controls.

       43.      Each of the Individual Defendants further owed to Acer and its stockholders the

duty of loyalty requiring that each favor Acer’s interest and that of its stockholders over their own

while conducting the affairs of the Company and refrain from using their position, influence, or

knowledge of the affairs of the Company to gain personal advantage.

                                SUBSTANTIVE ALLEGATIONS

BACKGROUND

       44.      Acer, a pharmaceutical company based in Newton, Massachusetts, was founded in

2013 by defendant Schelling. On September 19, 2017, the Company, private at the time,

completed a reverse merger with Opexa Therapeutics, Inc. (“Opexa”), a publicly traded

pharmaceutical corporation trading under the symbol “OPXA.”

       45.      Upon closing of the reverse merger, the directors and the sole executive officer of

Opexa resigned from their positions with Opexa, while the surviving, combined company

continued its operations under the leadership of Acer’s executive management team, including

defendant Schelling. Also, as a result of the reverse merger, the combined company changed the

ticker from “OPXA” to “ACER” and began trading publicly on NasdaqCM.

       46.      As of December 31, 2018, Acer had twenty-three full-time employees. The

Company also employed a number of consultants and independent contractors.

       47.      During the Relevant Period, the Company had three clinical-stage candidates:

(1) EDSIVO, (2) ACER-001, and (3) osanetant. The Company had not generated any revenue

from commercial sales of any of the three candidates. Thus, the Company’s future depended on

its “ability to generate these product candidates or other product candidates that we may develop,

in-license or acquire in the future.”


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        48.    And, this ability to generate revenue depended on the Company obtaining FDA

approval. Indeed, the Individual Defendants, in numerous public statements, admitted that “Our

business is substantially dependent on our ability to complete the development of, obtaining

marketing approval for, and successfully commercialize our product candidates in a timely

manner. We cannot commercialize our product candidates in the United States without first

obtaining approval from the FDA to market each product candidate.” The Individual Defendants

also admitted that “our business will be substantially harmed . . . if we are ultimately unable to

obtain marketing approval for our product candidate.”

        49.    The Company designated most of its resources to clinical development of its

product candidates. Since its founding, the Company expended more than $28 million in research

and development (“R&D”) through the end of 2018. Of the R&D expenses, approximately $23.6

million was spent in developing EDSIVO, indicating the importance the Company placed on this

drug.

        50.    The Company has been developing EDSIVO to treat vEDS by repurposing

celiprolol. vEDS is a rare and severe genetic connective tissue disorder caused by mutations in

the collagen type III alpha I chain gene that affects thousands of people in the United States.

Patients with vEDS have abnormally fragile blood vessels, which may result in aneurysms,

abnormal connections between blood vessels, arterial dissections, and spontaneous vascular

ruptures, all of which can be fatal. Patients with vEDS are recommended to avoid intense physical

activity, including strenuous sports and scuba diving. Complications resulting from vEDS are

severe and often require immediate hospitalization, intensive care, or surgery.




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        51.     Although celiprolol has not been approved for treating vEDS in the United States,

it has been approved for the treatment of hypertension in the European Union for over 30 years

and has been widely used to treat vEDS in France.

        52.     On December 13, 2016, the Company announced that it had signed an agreement

with Assistance Publique—Hôpitaux de Paris, Hôpital Européen Georges Pompidou (“AP-HP”),

which is based in Paris, France. The agreement would grant the Company exclusive rights to

access and use data from a randomized, controlled clinical study of celiprolol.

        53.     In 2004, AP-HP researchers published data on their vEDS patients, observing that

an abnormally low intima-media thickness generates a higher wall stress than in control subjects

at the site of an electric artery, which increased the risk of arterial dissection and rupture.

        54.     Based on these findings, AP-HP sought to figure out how to use celiprolol for vEDS

patients to lower risk of arterial dissection and rupture and began the Ong Trial, a multicenter,

prospective, randomized, open trial with blinded evaluation of clinical events, which was funded

by the French Ministry of Health. Professor Pierre Boutouyrie was appointed as the principal

investigator for the Ong Trial.

        55.     53 patients participated in the Ong Trial, who were randomly split up at eight

centers in France and one center in Belgium. The trial’s primary endpoint was a composite of

cardiac or arterial events, such as rupture or dissection, during follow-up. The trial’s secondary

endpoints were gastrointestinal or uterine rupture.

        56.     On October 30, 2010, AP-HP published results from the Ong Trial in The Lancet,

a weekly, peer-reviewed medical journal.

        57.     According to the Individual Defendants, the Ong Trial ended early “after a

consensus decision of the safety monitoring board, the methodologist of AP-HP, and the principal




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investigator because significant differences were recorded between the treatment group and the

control group after 64 months.” The Individual Defendants also touted, “[W]ith celiprolol the risk

of having a cardiac or arterial event was reduced by 64% compared to [the] control [group].”

         58.   In reality, the Ong Trial suffered from fatal flaws. During the trial, researchers

learned that more than one-third of the participants did not have a COL3A1 gene mutation, which

is the cause of vEDS. Additionally, the participants without the COL3A1 gene mutation were not

evenly distributed between the control group and the test group. While the treatment group

consisted of 12 participants who did not have a COL3A1 mutation and 13 participants who did,

the control group consisted of 8 participants who did not have a COL3A1 mutation and 20

participants who did, creating a severe imbalance between the treatment group and the control

group.

         59.   The Ong Trial bias can be quantified from the percentages of the study’s

participants who did not have the genetic mutation, which was 48% (12 out of 25) for the treatment

group and 28.6% (8 out of 28) for the control group. From the outset, the treatment group had a

19.4% head start towards event-free survival, which is highly material and equates to a 5-event

advantage for the treatment group.       Given that an 8-event advantage reaches statistical

significance, any scenario among the 13 treatment cases and the 20 control cases with the mutation

where there are just three fewer events in the mutation present treatment group will result in a

statistically significant event-free survival advantage. This is a red flag that the FDA would

immediately have recognized as bias upon reviewing the mutation data.

         60.   Further, with respect to the remaining 33 cases (13+20) with mutations, there was

less than 80% power to detect a 50% difference (i.e., 25% vs. 75%), rendering the Ong Trial

subgroup very underpowered. In other words, after excluding the ineligible cases, the study lacked




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an adequate sample size to test for a meaningful difference between the two groups and, therefore,

was unlikely to yield any conclusive results. This is another red flag that the FDA would have

recognized as soon as the agency learned about the 20 (12+8) ineligible cases.

         61.     Such severe imbalance between the treatment group and the control group would

likely cause the FDA to be reluctant in approving celiprolol and, in turn, EDVISO, because the

severe imbalance indicates that the study was not “adequate and well-controlled.”

         62.     In addition to the severe imbalance problem, the Ong Trial also suffered from bias

issues that would cause the FDA to be reluctant in approving celiprolol. The FDA has a strong

preference for prospective studies, which have fewer potential sources of bias and confounding

than retrospective studies. The Ong Trial’s statistical significance was not controlled and was

based on retrospective analysis of historical data, which the FDA would recognize as another

source of bias upon learning of the Company’s use of the Ong Trial data as the main source of the

Company’s NDA.

         63.     Despite having knowledge of the severe bias issues in the Ong Trial, which

significantly lowered the chance of FDA approval for EDSIVO, the Individual Defendants touted

the purported positive results of the Ong Trial while omitting biases and underpowering flaws of

the trial.

         64.     From when the Company acquired the Ong Trial data, the Individual Defendants

made clear that the Ong Trial data would be the main source for the upcoming NDA for EDSIVO.

For example, on December 13, 2016, the Individual Defendants caused the Company to issue a

press release which stated, “This pivotal clinical data from AP-HP will represent a critical element

of the clinical module in our NDA [New Drug Application], which we are diligently building along

with manufacturing, non-clinical and other components of the regulatory package.”




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        65.     The Individual Defendants continued to tout the Ong Trial data. On September 25,

2017, the Individual Defendants caused the Company to issue a press release announcing that the

Company had obtained “positive results” from the Company’s own “retrospective source verified

analysis of the [Ong T]rial data, including the primary and secondary endpoints.”

        66.     The Individual Defendants continued, stating that “The previously completed

European study, published on October 30, 2010, in The Lancet, was stopped early having achieved

statistical significance in its primary endpoints.” According to the September 25, 2017 press

release, “Acer will use this pivotal clinical data to support a New Drug Application (NDA)

regulatory filing in the U.S. in the first half of 2018.”

THE FDA’S REVIEW PROCESS FOR ACER’S NDA FOR EDSIVO

        67.     The FDA approves a new drug for sale and marketing in the United States. through

an NDA process. As stated on the FDA’s website, “The goals of the NDA are to provide enough

information to permit FDA reviewer to reach the following key decisions: [a] whether the drug is

safe and effective in its proposed use(s), and whether the benefits of the drug outweigh the risks;

[b] whether the drug’s proposed labeling (package insert) is appropriate, and what it should

contain; and [c] whether the methods used in manufacturing the drug and the controls used to

maintain the drug’s quality are adequate to preserve the drug’s identity, strength, quality, and

purity.”

        68.     Further, the FDA describes that the NDA “is supposed to tell the drug’s whole

story, including what happened during the clinical tests, what the ingredients of the drug are, the

results of the animal studies, how the drug behaves in the body, and how it is manufactured,

processed and packaged.”

        69.     The Individual Defendants likewise described the NDA process in public

statements:


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       The FDA is required to conduct a preliminary review of an NDA within the first 60
       days after submission, before accepting it for filing, to determine whether it is
       sufficiently complete to permit substantive review. The FDA may accept the NDA
       for filing, potentially refuse to file the NDA due to deficiencies but work with the
       applicant to rectify the deficiencies (in which case the NDA is filed upon resolution
       of the deficiencies) or refuse to file the NDA. The FDA must notify the applicant
       of a refusal to file a decision within 60 days after the original receipt date of the
       application. . . . Once an NDA is accepted for filing, the FDA begins an in-depth
       substantive review. Under the Prescription Drug User Fee Act (“PDUFA”) and the
       FDA’s commitments under the current PDUFA Reauthorization Act, the FDA has
       a goal of reviewing and acting on 90% of standard non-priority NDA applications
       within ten months from the filing date of the NDA.

       70.       Through the PDUFA, the FDA enables applicants that have submitted NDAs

meeting certain criteria to receive a decision within six months through its “priority review”

designation, instead of the ten-month period under the FDA’s standard review. According to the

FDA:

       A Priority Review designation will direct overall attention and resources to the
       evaluation of applications for drugs that, if approved, would be significant
       improvements in the safety or effectiveness of the treatment, diagnosis, or
       prevention of serious conditions when compared to standard applications.

       Significant improvement may be demonstrated by the following examples:

             •   evidence of increased effectiveness in treatment, prevention, or diagnosis
                 of condition;
             •   elimination or substantial reduction of a treatment-limiting drug reaction;
             •   documented enhancement of patient compliance that is expected to lead to
                 an improvement in serious outcomes; or
             •   evidence of safety and effectiveness in a new subpopulation.

       FDA decides on the review designation for every application. However, an
       applicant may expressly request priority review as described in the Guidance for
       Industry Expedited Programs for Serious Conditions – Drugs and Biologics. It does
       not affect the length of the clinical trial period. FDA informs the applicant of a
       Priority Review designation within 60 days of the receipt of the original BLA,
       NDA, or efficacy supplement. Designation of a drug as “Priority” does not alter
       the scientific/medical standard for approval or the quality of evidence necessary.

       71.       After conducting its review centered on the drug candidate’s safety and efficacy,

the FDA then issues its decision by letter either approving the NDA or rejecting or denying the



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NDA. If the FDA rejects or denies the NDA, it issues a Complete Response Letter (“CRL”), which

must, under 21 C.F.R. § 314.110(a)(1), contain “all of the specific deficiencies that the agency has

identified”:

       The FDA reviews an NDA to determine, among other things, whether the drug is
       safe and effective for its intended use and whether the facility in which it is
       manufactured, processed, packaged or held meets standards designed to assure the
       product’s continued safety, quality and purity. The FDA is required to refer an
       application for a novel drug to an advisory committee or explain why such referral
       was not made. An advisory committee is a panel of independent experts, including
       clinicians and other scientific experts, that reviews, evaluates and provides a
       recommendation in response to specific questions raised by the FDA, which may
       include whether the application should be approved and under what conditions.
       The FDA is not bound by the recommendations of an advisory committee, but it
       considers such recommendations carefully when making decisions.

                                         *       *       *

       After the FDA evaluates the NDA and conducts its inspections, it may issue an
       approval letter or a Complete Response Letter. An approval letter authorizes
       commercial marketing of the drug subject to specific prescribing information for
       specific indications and, if applicable, specific post-approval requirements. A
       Complete Response Letter indicates that the review cycle of the application is
       complete and the application is not ready for approval. After receiving a Complete
       Response Letter, the applicant must decide within twelve months (subject to
       extension), if it wants to resubmit the NDA addressing the deficiencies identified
       by the FDA in the Complete Response Letter, withdraw the NDA, or request an
       opportunity for a hearing to challenge the FDA’s determination. A Complete
       Response Letter may require additional clinical data and/or an additional pivotal
       Phase 3 clinical trial(s), and/or other significant, expensive and time-consuming
       requirements related to clinical trials, nonclinical studies or manufacturing. Even
       if such data are submitted, the FDA may ultimately decide that the NDA does not
       satisfy the criteria for approval. Data from clinical trials are not always conclusive
       and the FDA may interpret data differently than we interpret data.

       72.     During the Relevant Period, the Individual Defendants represented to the public

that the Company was working closely with the FDA in preparing Acer’s NDA for the agency’s

review and fostered the impression that in working with representatives from the FDA that the

Company would be able to resolve any gaps existing between the data package the Company




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intended to include in the NDA and the FDA’s requirements, which would substantially reduce

the risk that its NDA for EDSIVO would receive a CRL.

           73.   Early in the Relevant Period, the Individual Defendants reported that the Company

and the FDA had reached an agreement that the Company would not need to conduct any clinical

studies beyond the already-completed Ong Trial. For example, in a Preliminary Prospectus

Supplement filed with the SEC on December 11, 2017, and in a Prospectus Supplement filed with

the SEC on December 12, 2017, the Individual Defendants reported that at a September 2015

meeting at which Acer “met with the FDA to discuss the existing clinical data for EDSIVO,” “the

FDA agreed that additional clinical development is not needed and stated that we may submit a

505(b)(2) NDA for EDSIVO™ for the treatment of vEDS” (emphasis added). This was material

information because the Individual Defendants “anticipate[d] [that] the use of third-party data will

minimize the amount of original data we would be required to generate and shorten the time needed

for preparation, submission, and review of the marketing applications.”

           74.   In fact, the Individual Defendants’ representation that the Company had an

agreement with the FDA was not true. Later in the Relevant Period, the Individual Defendants

began backtracking on the supposed agreement with the FDA. In a Form 10-K filed with the SEC

on March 7, 2018, the Individual Defendants described the supposed agreement with the FDA:

“In September 2015, we met with the FDA to discuss the existing clinical data for EDSIVO. At

that meeting, the FDA agreed that an additional clinical trial is not likely needed and stated that

we may submit a 505(b)(2) NDA for EDSIVO™ for the treatment of vEDS” (emphasis added).

The Individual Defendants added: “Furthermore, the FDA provided us with additional guidance

on the expected presentation of the existing clinical data for EDSIVO™ to support the NDA

filing.”




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       75.     Similarly, in prospectus supplements filed with the SEC to raise capital from

investors, the Individual Defendants stated: “In September 2015, we met with the FDA to discuss

the existing clinical data for EDSIVO. At that meeting, the FDA agreed that an additional

clinical trial is not likely needed and stated that we may submit a 505(b)(2) NDA for EDSIVO™

for the treatment of vEDS” (emphasis added). Defendants also added: “Furthermore, the FDA

provided us with additional guidance on the expected presentation of the existing clinical data for

EDSIVO to support the NDA filing.” (emphasis added).

       76.     On the contrary, based on the Individual Defendants’ later admission that “[t]he

CRL states that it will be necessary to conduct an adequate and well-controlled trial to determine

whether celiprolol reduces the risk of clinical events in patients with vEDS,” the FDA had

previously communicated to the Company that the agency did not consider the Ong Trial an

“adequate and well-controlled trial” as a result of the imbalance between the experimental and

control arms of the Ong Trial. Indeed, the FDA would not lead the Individual Defendants to

believe that the agency considered the Ong Trial an “adequate and well-controlled trial,” and then

later deny the Company’s NDA on the ground that the Ong Trial did not constitute an “adequate

and well-controlled trial.”

       77.     In the months leading up to Acer’s submission of its NDA for EDSIVO, the

Individual Defendants continued to suggest that there were no serious impediments to FDA

approval for EDSIVO.

       78.     On March 7, 2018, the Individual Defendants caused the Company to file a Form

10-K for the fiscal year 2017, which stated that “[i]n September 2015, we met with the FDA to

discuss the existing clinical data for EDSIVO.” The Individual Defendants also represented that

“[i]n May 2017, we held a Type C meeting with the FDA to discuss non-clinical and manufacturing




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data, and proactively identify whether there were any gaps for us to address in advance of a pre-

NDA meeting. . . . [T]he FDA provided us with additional guidance on the expected presentation

of the existing clinical data for EDSIVO to support the NDA filing.”

       79.     As to the timing of the FDA process, the Individual Defendants stated that they

“plan[ned] to have a pre-NDA meeting, which may consist of one or more consults, with the FDA

in the second quarter of 2018,” and that they expected “to submit the 505(b)(2) NDA for EDSIVO

for the treatment of vEDS at the end of the first half of 2018.”

       80.     On March 7, 2018, the Individual Defendants caused the Company to issue a press

release, which stated that they “plan to discuss these key data,” consisting of the “positive results”

obtained from the Company’s own “retrospective source-verified analysis of the trial data,

including the primary and secondary endpoints, confirm[ing] the data from a previously published

randomized controlled clinical study of celiprolol . . . during a pre-NDA meeting with the FDA in

the second quarter of 2018.”

       81.     On August 13, 2018, the Individual Defendants caused the Company to issue a

press release announcing the Company’s financial and operational results for the second quarter

of fiscal year 2018. In the press release, the Individual Defendants stated that they had “held a

Type C clinical meeting and a Type B (pre-NDA) meeting with the FDA in June 2018,” and that

they had “presented celiprolol vEDS Patient Registry data to the FDA at the Type C meeting.”

The Individual Defendants also represented that the manuscript of the patient registry data was

then “currently under peer review,” and “if published, it will be included in support of NDA but is

not rate-limiting to submission of NDA.” The Individual Defendants also stated that they were

“targeting NDA submission to the FDA for EDSIVO for the treatment of vEDS in early fourth

quarter of 2018.”




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       82.     On December 26, 2018, the Individual Defendants caused the Company to issue a

press release announcing that the FDA had accepted for review the Company’s NDA for EDSIVO.

In the press release, the Individual Defendants noted that “[t]he FDA also granted a priority review

of the NDA and assigned a [PDUFA] target action date of June 25, 2019. Priority review is a

designation granted by the FDA to accelerate the review process for drugs that offer a significant

improvement in treatment or provide treatment where no satisfactory alternative therapy exists.”

       83.     On April 16, 2019, the Individual Defendants caused the Company to issue a press

release announcing the publication of “long-term data from a cohort of COL3A1-positive vEDS

patients in the Journal of the American College of Cardiology” (the “Long-Term Observational

Study”). In the press release, the Individual Defendants stated that the Long-Term Observational

Study, titled “Vascular Ehlers-Danlos Syndrome: Long-Term Observational Study” and authored

by Michael Frank, MD, Xavier Jeunemaitre, MD, PhD and Pierre Boutouyrie, MD, PhD, et al.,

“describes outcomes in 144 COL3A1-positive vEDS patients clinically monitored and treated at

the French National Referral Center for Rare Vascular Diseases (Paris, France) between the years

2000 and 2017.” The Individual Defendants quoted Dr. Michael Frank, a clinical investigator

from the Paris Group and one of the co-authors of the Long-Term Observational Study, as stating,

“The higher overall survival in patients treated with celiprolol in this long-term study in COL3A1-

positive vEDS patients appears to correlate with the significant event-free survival advantage that

was reported in the [Ong Trial] of celiprolol treatment in vEDS patients.”

       84.     Despite the Individual Defendants’ selective quotation of the Long-Term

Observational study, the researchers of the Long-Term Observational Study themselves stated, “It

is difficult to formally assess this beneficial effect (the benefit of celiprolol on survival) in the

absence of a placebo-controlled prospective trial, because other confounders might have




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influenced this observation.” As Dr. Julie De Backer and Dr. Tine De Backer, vEDS researchers

not affiliated with the Long-Term Observational Study, stated:

       Whether the systematic treatment with celiprolol has an additional genuine
       pharmacological beneficial effect or helps ensure better follow up cannot be
       answered with this study. The only way to determine if it is celiprolol contributing
       to the better outcome is to conduct a randomized prospective trial comparing
       celiprolol to another beta-blocker in patients with molecularly confirmed vEDS.

       85.     Beginning on June 25, 2019, the Individual Defendants began disclosing the truth

about the FDA review process. On June 25, 2019, the Individual Defendants announced that the

FDA had rejected the Company’s NDA for EDSIVO, pointing out the need for an adequate and

well-controlled trial” evaluating EDSIVO.

       86.     Defendants issued a press release (the “June 25, 2019 Press Release”) disclosing

that the FDA had rejected Acer’s NDA for EDSIVO. Although Defendants did not make the CRL

available to the public, the June 25, 2019 Press Release reported that the CRL had cited the need

for an “adequate and well-controlled trial” evaluating EDSIVO’s effectiveness in reducing the risk

of clinical events in patients with vEDS. Nevertheless, the Individual Defendants represented to

the public that they “expect[ed] to respond to the FDA in the third quarter of [2019].” Interestingly,

the press release had no mention of a supposed agreement with the FDA.

       87.     On July 5, 2019, the Individual Defendants issued a press release announcing that,

in light of the FDA’s issuance of the CRL to Acer regarding its NDA for EDSIVO, the Company

was undergoing a “corporate restructuring,” as a result of which “Acer’s headcount has been

reduced from 48 to 19 employees and pre-commercial activities of EDSIVO (celiprolol) have been

halted. The restructuring is expected to provide the resources needed for Acer to conduct its

planned business operations through 2020.” The Individual Defendants also noted that they

“intend to continue our dialogue with the FDA to fully understand its response and work toward

our goal of approval of EDSIVO.” The Individual Defendants added that “[i]n light of the CRL it


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was necessary to reduce our expenses, extend our cash runway, and focus our resources on a

potential path forward for EDSIVO as well as continued development of our other pipeline

opportunities.”

THE INDIVIDUAL DEFENDANTS CAUSE              THE   COMPANY   TO   ISSUE MATERIALLY FALSE       AND
MISLEADING STATEMENTS

       88.        During the Relevant Period, the Individual Defendants made materially false and/or

misleading statements, as well as failed to disclose material adverse facts about the Company’s

business, operations, and prospects. Specifically, the Individual Defendants failed to disclose to

investors that: (i) the Ong Trial data were insufficient to support FDA approval based on the

imbalance between the study’s experimental and control arms, and the severe bias and

underpowering of the study; (ii) the significant limitation of the Long-Term Observational Study

in that it could not answer “whether the systematic treatment with celiprolol has an additional

genuine pharmacological beneficial event; and (iii) communications from the FDA that the Ong

Trial data were flawed and the limited value of the Long-Term Observational Study.

       89.        On September 25, 2017, the Individual Defendants caused the Company to issue a

press release titled “Acer Therapeutics Reports Positive Results From Pivotal Clinical Trial of

EDSIVO™ (celiprolol) for Treatment of Vascular Ehlers-Danlos Syndrome,” which stated:

       Cambridge, MA – Acer Therapeutics Inc., (Nasdaq: ACER), a
       pharmaceutical company focused on the acquisition, development and
       commercialization of therapies for serious rare and ultra-rare diseases with
       critical unmet medical need, today announced positive results from the
       pivotal clinical trial of EDSIVO™ (celiprolol) for the treatment of vascular
       Ehlers-Danlos Syndrome (vEDS). Acer’s retrospective source verified
       analysis of the trial data, including the primary and secondary endpoints,
       confirmed the data from a previously published randomized controlled
       clinical study of celiprolol(1). Acer will use this pivotal clinical data to
       support a New Drug Application (NDA) regulatory filing in the U.S. in the
       first half of 2018. Ehlers-Danlos Syndrome (EDS) is a group of hereditary
       disorders of connective tissue. vEDS is the most severe subtype where
       patients suffer from life threatening arterial dissections and ruptures, as well
       as intestinal and uterine ruptures. There are currently no FDA approved


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       therapies for vEDS(2). “We have studied celiprolol for nearly two decades
       in vEDS patients and this is the only drug to ever demonstrate a clinical
       benefit in this difficult to treat patient population in a randomized, controlled
       clinical study,” said Pierre Boutouyrie M.D., Ph.D., co-director of the
       clinical pharmacology service at the Georges-Pompidou European Hospital,
       Greater Paris University Hospitals (AP-HP) and Principal Investigator for
       the published celiprolol study. “Having established celiprolol as the standard
       of care in France for vEDS patients, we are excited to collaborate with Acer
       to help bring celiprolol to U.S. patients who are suffering from this
       devastating, life-threatening disease.” The previously completed European
       study, published on October 30, 2010, in The Lancet, was stopped early
       having achieved statistical significance in its primary endpoints, with
       arterial dissection or rupture affecting 5 (20%) celiprolol patients and 14
       (50%) subjects in the non-treated control group (hazard ratio [HR] 0.36;
       p-value 0.04). The combined primary and secondary endpoints of intestinal
       or uterine rupture affected 6 (24%) celiprolol patients and 17 (61%) subjects
       in the non-treated control group (HR 0.31; p-value 0.01). The study was
       conducted in 53 patients, who were randomly assigned either a twice daily
       treatment of celiprolol or no treatment. Mean duration of follow-up was 47
       months prior to trial halt. “We are committed to bringing EDSIVO™ to
       vEDS patients who currently do not have access to this treatment,” said
       Robert D. Steiner, M.D., Chief Medical Officer of Acer. “Our confirmation
       of the published celiprolol clinical data with an Acer-sponsored
       retrospective source verified analysis of the trial data represents a critical
       element of the clinical module in our NDA, which we are diligently
       building, along with current manufacturing, non-clinical and other
       components of the regulatory package.” “We continue to successfully
       rapidly advance our lead product candidate, EDSIVO™, a potential life-
       saving therapy for patients with vEDS, towards an NDA filing, which we
       expect to accomplish in the first half of 2018,” said Chris Schelling, CEO
       and Founder of Acer. “In addition to source verifying a definitive Event-
       Free Survival endpoint from a previously completed robust clinical study,
       modernizing manufacturing and assembling other components of the
       regulatory package, we are executing on a number of key medical affairs
       focused initiatives for vEDS patients. Specifically, we are setting up Centers
       of Excellence to optimize patient care, and intend to develop a prospective
       vEDS Patient Registry and provide integrated care support programs.”

(emphases added).

       90.     On November 13, 2017, the Individual Defendants caused the Company to issue a

press release announcing the Company’s financial and operational results for the third quarter of

fiscal year 2017. In the press release, defendant Schelling was quoted:




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       We became a public Nasdaq-listed company, closed a concurrent financing and
       announced positive results from our pivotal clinical trial of EDSIVO™, each a
       critical step in bringing us closer to our goal of becoming a leading
       pharmaceutical company that acquires, develops and commercializes therapies
       for the treatment of patients with serious rare and ultra-rare diseases with critical
       unmet medical need . . . . We continue to successfully advance our lead product
       candidate, EDSIVO™, a potential life-saving therapy for patients with vEDS.
       We believe that our current cash position will allow us to advance EDSIVO™
       through NDA submission with the FDA in the first half of 2018. As a public
       company, we look forward to advancing and expanding our pipeline with the goal
       of bringing multiple products to patients over the next several years.

(emphases added).

       91.    On December 11, 2017, the Individual Defendants caused the Company to file a

Form 424B3 preliminary prospectus supplement (the “December 11, 2017 Preliminary Prospectus

Supplement”) with the SEC in connection with its secondary public offering of common stock.

The next day, on December 12, 2017, the Individual Defendants caused the Company to file a

substantially similar Form 424B3 prospectus supplement (the “December 12, 2017 Prospectus

Supplement,” and together with the December 11, 2017 Preliminary Prospectus, the “December

2017 Offering Documents”) with the SEC. In the December 2017 Offering Documents, the

Individual Defendants stated:

       In September 2015, we met with the FDA to discuss the existing clinical data for
       EDSIVO™. At that meeting, the FDA agreed that additional clinical
       development is not needed and stated that we may submit a 505(b)(2) NDA for
       EDSIVO™ for the treatment of vEDS. In addition, the FDA advised us that no
       significant additional work would be required for the chemistry, manufacturing and
       controls, nonclinical or pharmacology sections of the NDA. The FDA also
       indicated to us at that time that it expected that the 505(b)(2) NDA for EDSIVO™
       would qualify for priority review, which provides an expedited six-month review
       cycle, instead of the traditional ten-month cycle, for a drug that treats a serious
       condition and demonstrates the potential to be a significant improvement in safety
       or effectiveness of the treatment, prevention, or diagnosis of the condition. The
       FDA determines whether an application will receive priority review at the time the
       application is submitted. We expect to submit to the FDA the 505(b)(2) NDA for
       EDSIVO™ for the treatment of vEDS in the first half of 2018.

(emphasis added).



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       92.     As a result of the December 2017 Offering Documents, the Company raised

approximately $12.56 million from investors.

       93.     On March 7, 2018, the Individual Defendants caused the Company to issue a press

release announcing the Company’s financial and operational results for the fourth quarter of fiscal

2017 and 2017 annually. In the press release, the Individual Defendants touted the “positive results

from the pivotal clinical trial of EDSIVO™ (celiprolol) for the treatment of vEDS.” The

Individual Defendants further stated that the Company’s “retrospective source-verified analysis of

the trial data, including the primary and secondary endpoints, confirmed the data from a previously

published randomized controlled clinical study of celiprolol. We plan to discuss these key data

during a pre-NDA meeting with the FDA in the second quarter of 2018.”

       94.     Additionally, on the same day, the Individual Defendants caused the Company to

file a Form 10-K (the “2017 10-K”) with the SEC, which was signed by the Individual Defendants.

The 2018 10-K stated:

       In September 2015, we met with the FDA to discuss the existing clinical data for
       EDSIVO™. At that meeting, the FDA agreed that an additional clinical trial is
       not likely needed and stated that we may submit a 505(b)(2) NDA for EDSIVO™
       for the treatment of vEDS. The FDA indicated to us at that time that it expected
       that the 505(b)(2) NDA for EDSIVO™ is likely to qualify for priority review.
       Priority review provides an expedited six-month review cycle after acceptance of
       the NDA for filing, instead of the traditional ten-month review cycle, for drugs that
       treat a serious condition and demonstrate the potential to be a significant
       improvement in safety or effectiveness of the treatment, prevention, or diagnosis of
       the condition. The FDA determines whether an application will receive priority
       review at the time the application is accepted for filing.

       In May 2017, we held a Type C meeting with the FDA to discuss non-clinical and
       manufacturing data, and proactively identify whether there were any gaps for us to
       address in advance of a pre-NDA meeting. In our non-clinical data package, we
       are addressing a potential preclinical gap by conducting in vitro drug-drug
       interaction studies, which were missing from the Aventis MHRA dossier. We also
       reached agreement with the FDA regarding Chemistry, Manufacturing and
       Controls (CMC) specifications. Furthermore, the FDA provided us with
       additional guidance on the expected presentation of the existing clinical data for
       EDSIVO™ to support the NDA filing.


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(emphases added).

       95.    On July 31, 2018, the Individual Defendants caused the Company to file a Form

424B3 preliminary prospectus supplement (the “July 31, 2018 Prospectus Supplement”) with the

SEC in connection with the SPO. The next day, on August 1, 2018, the Individual Defendants

caused the Company to file a substantially similar Form 424B2 prospectus supplement (the

“August 1, 2018 Prospectus Supplement,” and together with the July 31, 2018 Preliminary

Prospectus, the “August 2018 Offering Documents”) with the SEC. In the August 2018 Offering

Documents, the Individual Defendants stated:

       In September 2015, we met with the FDA to discuss the existing clinical data for
       EDSIVO™. At that meeting, the FDA agreed that an additional clinical trial is
       not likely needed and stated that we may submit a 505(b)(2) NDA for EDSIVO™
       for the treatment of vEDS. The FDA indicated to us at that time that it expected
       that the 505(b)(2) NDA for EDSIVO™ is likely to qualify for priority review.
       Priority review provides an expedited six-month review cycle after acceptance of
       the NDA for filing, instead of the traditional ten-month review cycle, for drugs that
       treat a serious condition and demonstrate the potential to be a significant
       improvement in safety or effectiveness of the treatment, prevention, or diagnosis of
       the condition. The FDA determines whether an application will receive priority
       review at the time the application is accepted for filing.

       In May 2017, we held a Type C meeting with the FDA to discuss non-clinical and
       manufacturing data, and proactively identify whether there were any gaps for us to
       address in advance of a pre-NDA meeting. In our non-clinical data package, we
       are addressing a potential preclinical gap by conducting in vitro drug-drug
       interaction studies, which were missing from the Aventis MHRA dossier. We also
       reached agreement with the FDA regarding Chemistry, Manufacturing and
       Controls (CMC) specifications. Furthermore, the FDA provided us with
       additional guidance on the expected presentation of the existing clinical data for
       EDSIVO™ to support the NDA filing.

(emphases added).

       96.    As a result of the August 2018 Offering Documents, the Company raised

approximately $46 million from investors.




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       97.     On April 16, 2019, the Individual Defendants caused the Company to issue a press

release discussing the Long-Term Observational Study, which the Individual Defendants cited to

buttress their claims regarding EDSIVO. The press release stated:

       The authors concluded that in this large, long-term cohort study, vEDS patients had
       a higher survival rate than expected relative to the known natural history of the
       disease and a lower annual occurrence of arterial complications, and that celiprolol
       use was potentially associated with these significant improvements in clinical
       outcomes.

       “The higher overall survival in patients treated with celiprolol in this long-term
       study in COL3A1-positive vEDS patients appears to correlate with the significant
       event-free survival advantage that was reported in the Ong, et al. study of celiprolol
       treatment in vEDS patients (2),” said Michael Frank, MD, clinical investigator from
       the Paris group and first author of the publication.

       “We are pleased to see this publication from the vEDS clinical investigator group
       in Paris which provides patients and physicians with a greater understanding of this
       chronic disease, including data suggesting a positive impact of celiprolol, which
       has a unique pharmacological profile,” said William Andrews, MD, FACP, Chief
       Medical Officer of Acer.

       98.     The Individual Defendants continued to tout the Long-Term Observational Study

the following month. On May 14, 2019, the Individual Defendants caused the Company to issue

a press release, which touted that “in April 2019, we announced the publication of the Paris registry

data in JACC that supplements the previously-reported safety and efficacy of celiprolol in vEDS

patients with a confirmed type III collagen (COL3A1) mutation.” In the press release, the

Individual Defendants also stated that the Company, in the first quarter of fiscal year 2019:

       Announced the publication of long-term data from a cohort of COL3A1-positive
       vascular Ehlers-Danlos syndrome (vEDS) patients in the Journal of the American
       College of Cardiology (JACC). The published data includes up to 17 years of safety
       data in this population, and the survival curve analysis shows that those patients not
       treated with celiprolol had a significantly worse outcome than celiprolol-treated
       patients. The authors also observed a relative decrease in hospitalization rates for
       acute arterial events during the time period in which the majority of patients were
       on celiprolol, suggesting a positive effect of celiprolol on the incidence and/or
       severity of new arterial events.




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       99.     The statements in paragraphs 89-98 were materially false and/or misleading

because the Individual Defendants failed to disclose to investors that: (i) the Ong Trial data was

insufficient to support FDA approval based on the imbalance between the study’s experimental

and control arms, and the severe bias and underpowering of the study; (ii) the significant limitation

of the Long-Term Observational Study in that it could not answer “whether the systematic

treatment with celiprolol has an additional genuine pharmacological beneficial event; and

(iii) communications from the FDA that the Ong Trial data were flawed and the limited value of

the Long-Term Observational Study.

THE TRUTH IS REVEALED

       100.    On June 25, 2019, the Company issued a press release, which revealed that the FDA

had rejected the Company’s NDA for EDSIVO. Specifically, the press release stated:

       Acer Therapeutics Inc. (Nasdaq: ACER), a pharmaceutical company focused on
       the acquisition, development and commercialization of therapies for serious rare
       and life-threatening diseases with significant unmet medical needs, today
       announced it has received a Complete Response Letter (CRL) from the U.S. Food
       and Drug Administration (FDA) regarding its New Drug Application (NDA) for
       EDSIVO™ for the treatment of vascular Ehlers-Danlos syndrome (vEDS). The
       CRL states that it will be necessary to conduct an adequate and well-controlled trial
       to determine whether celiprolol reduces the risk of clinical events in patients with
       vEDS. Acer plans to request a meeting to discuss the FDA’s response.

       “We remain committed to working closely with the FDA to fully understand its
       response,” said Chris Schelling, CEO and Founder of Acer. “We expect to respond
       to the FDA in the third quarter of this year.”

       101.    Later that day, Reuters published an article reporting that the FDA declined to

approve Acer’s NDA for EDSIVO and noted how “[t]he small group size” of the Ong Trial had

“raised questions among experts about the adequacy of the trial results.”

       102.    As a result, the price of Acer common stock fell $15.16 per share, or 78.63%, to

close at $4.12 per share on June 25, 2019.




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THE DIRECTOR DEFENDANTS ISSUED A MATERIALLY FALSE                       AND   MISLEADING PROXY
STATEMENT DURING THE RELEVANT PERIOD.

       103.    In addition to the above false and misleading statements issued and/or caused to be

issued by the Individual Defendants, the Director Defendants also caused the Company to issue a

false and misleading proxy statement during the Relevant Period. The Director Defendants

drafted, approved, reviewed, and/or signed a Form DEF14A before it was filed with the SEC and

disseminated to Acer’s stockholders on April 12, 2019 (the “2019 Proxy”).              The Director

Defendants negligently issued materially misleading statements in the 2019 Proxy. These proxy

allegations are based solely on negligence, they are not based on any allegations of recklessness

or knowing conduct by or on behalf of the Individual Defendants, and they do not allege and do

not sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon any allegation

of, or reference to any allegation of fraud, scienter, or recklessness with regard to the proxy

allegations and related claims.

       104.    The 2019 Proxy sought stockholder votes to, among other things, elect defendants

Aselage, Amello, Dunn, Griffin, and Schelling for a one-year term.

       105.    In support of the Director Defendants’ bid to reelect defendants Aselage, Amello,

Dunn, Griffin, and Schelling, the Director Defendants highlighted their supposed oversight of the

Company. In particular, the 2019 Proxy assured stockholders that the Board and its committees

regularly assess and manage the risks that Acer faces, including legal and regulatory risks, financial

controls, and risks associated with compensation programs and plans. The 2019 Proxy stated:

       Risk Oversight

       A fundamental part of risk management is not only understanding the risks a
       company faces and what steps management is taking to manage those risks, but
       also understanding what level of risk is appropriate for each company. Our Board
       is actively involved in oversight of risks that could affect Acer. The full Board has
       retained the responsibility for general oversight of risks, but the Audit Committee
       primarily oversees those risks that may directly or indirectly impact our financial


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statements. The Board’s role in the risk oversight process includes receiving
reports from members of management and the Audit Committee on areas of
material risk to Acer, including operational, financial, legal and regulatory, and
strategic risks which enable it to better understand our risk identification,
management and mitigation strategies.

                                *       *      *

AUDIT COMMITTEE REPORT

The Audit Committee of the Board of Directors currently consists of Ms. Griffin
and Messrs. Amello and Dunn, all of whom are independent, non-employee
directors.

The Audit Committee operates under a written charter adopted by the Board, which
is evaluated annually. The Audit Committee selects, evaluates and, where deemed
appropriate, replaces the Company’s independent auditors. The Audit Committee
also pre-approves all audit services, engagement fees and terms, and all permitted
non-audit engagements, except for certain de minimis amounts.

Management is responsible for the Company’s internal controls and the financial
reporting process. The Company’s independent auditors are responsible for
performing an independent audit of Acer’s consolidated financial statements in
accordance with auditing standards generally accepted in the United States of
America and issuing a report on Acer’s consolidated financial statements. The
Audit Committee’s responsibility is to monitor and oversee these processes.

In this context, the Audit Committee has reviewed the Company’s audited financial
statements for fiscal 2018 and has met and held discussions with management and
Wolf & Company, P.C., the Company’s independent auditors for fiscal 2018.
Management represented to the Audit Committee that the Company’s consolidated
financial statements for fiscal 2018 were prepared in accordance with accounting
principles generally accepted in the United States of America, and the Audit
Committee discussed the consolidated financial statements with the independent
auditors. The Audit Committee also discussed with Wolf & Company, P.C. the
matters required to be discussed by Auditing Standard No. 16, Communications
with Audit Committees, as adopted by the Public Company Accounting Oversight
Board (PCAOB).

Wolf & Company, P.C. also provided to the Audit Committee the written
disclosures and the letter required by applicable requirements of the PCAOB
regarding the independent auditors’ communications with the Audit Committee
concerning independence, and the Audit Committee discussed with Wolf &
Company, P.C. the accounting firm’s independence.

Based upon the Audit Committee’s discussion with management and Wolf &
Company, P.C., and the Audit Committee’s review of the representation of
management and the report of Wolf & Company, P.C. to the Audit Committee, the

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       Audit Committee recommended to the Board of Directors that the audited
       consolidated financial statements be included in the Company’s Annual Report on
       Form 10-K for the fiscal year ended December 31, 2018 filed with the SEC.

       106.    The 2019 Proxy thus assured stockholders that both the Individual Defendants and

the Board was involved with Acer’s business strategy, actively monitored the Company’s risks

and exposures, following good corporate governance practices, and acting in an ethical and legal

manner. In reality, the Director Defendants were utterly failing in their oversight duties by

allowing the Company to operate with inadequate internal controls which resulted in the failure to

disclose to investors that: (i) the Ong Trial data were insufficient to support FDA approval based

on the imbalance between the study’s experimental and control arms, and the severe bias and

underpowering of the study; (ii) the significant limitation of the Long-Term Observational Study

in that it could not answer “whether the systematic treatment with celiprolol has an additional

genuine pharmacological beneficial event; and (iii) communications from the FDA that the Ong

Trial data were flawed and the limited value of the Long-Term Observational Study.

       107.    As a result of these misleading statements, the Company’s stockholders voted via

an uninformed stockholder vote to reelect defendants Aselage, Amello, Dunn, Griffin, and

Schelling.

                              DAMAGES TO THE COMPANY

       108.    As a result of the Individual Defendants’ wrongful conduct, Acer disseminated

false and misleading statements and omitted material information to make such statements not

false and misleading when made. The improper statements have devastated Acer’s credibility.

Acer has been, and will continue to be, severely damaged and injured by the Individual

Defendants’ misconduct.




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       109.    Furthermore, aside from ruining the Company’s reputation for honesty, integrity,

and aptitude, the Individual Defendants have exposed the Company to very expensive legal costs

to defend, investigate, and pay judgment or settlement damages in the Securities Class Action.

       110.    As a direct and proximate result of the Individual Defendants’ actions as alleged

above, Acer’s market capitalization has been substantially damaged, losing millions of dollars in

value as a result of the conduct described herein.

       111.    Moreover, these actions have irreparably damaged Acer’s corporate image and

goodwill. For at least the foreseeable future, Acer will suffer from what is known as the “liar’s

discount,” a term applied to the stocks of companies who have been implicated in illegal behavior

and have misled the investing public, such that Acer’s ability to raise equity capital or debt on

favorable terms in the future is now impaired.

                DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       112.    Plaintiff incorporates the allegations herein by reference.

       113.    Plaintiff brings this action derivatively in the right and for the benefit of the

Company to redress the Individual Defendants’ breaches of fiduciary duties and other violations

of the law.

       114.    Plaintiff is a stockholder of Acer, was a stockholder of Acer at the time of the

wrongdoing alleged herein, and has been a stockholder of Acer continuously since that time.

       115.    Plaintiff will adequately and fairly represent the interests of the Company and its

stockholders in enforcing and prosecuting its rights.

       116.    At the time of the filing of this complaint, the Acer Board consists of the following

five individuals: Aselage, Schelling, Griffin, Dunn, and Amello.

       117.    As a result of the facts set forth herein, Plaintiff has not made any demand on the

Acer Board to institute this action against the Individual Defendants. Such a demand would have


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been a futile and useless act with respect to each and every one of the current members of the

Board because they are incapable of making an independent and disinterested decision to institute

and vigorously prosecute this action.

DEMAND IS FUTILE AS TO ALL DIRECTOR DEFENDANTS BECAUSE THEY EACH FACE                             A
SUBSTANTIAL LIKELIHOOD OF LIABILITY

       118.    The Individual Defendants all face a substantial likelihood of liability for their

individual misconduct. Defendants Aselage, Schelling, Griffin, Dunn, and Amello were directors

throughout the time of the false and misleading statements, and as such had a fiduciary duty to

ensure that the Company’s SEC filings, press releases, and other public statements and

presentations on behalf of the Company concerning its business, operations, prospects, internal

controls, and financial statements were accurate.

       119.    Moreover, as directors, defendants Aselage, Schelling, Griffin, Dunn, and Amello

owed a duty to, in good faith and with due diligence, exercise reasonable inquiry, oversight, and

supervision to ensure that the Company’s internal controls were sufficiently robust and effective

(and were being implemented effectively), and to ensure that the Board’s duties were being

discharged in good faith and with the required diligence and due care. Instead, defendants

Aselage, Schelling, Griffin, Dunn, and Amello knowingly and/or recklessly allowed, made or

authorized false and misleading statements, failed to timely correct such statements, failed to take

necessary and appropriate steps to ensure that the Company’s internal controls were sufficiently

robust and effective (and were being implemented effectively), and failed to take necessary and

appropriate steps to ensure that the Board’s duties were being discharged in good faith and with

the required diligence. These actions constitute breaches of the fiduciary duties of loyalty and

good faith, for which the Individual Defendants face a substantial likelihood of liability. If

defendants Aselage, Schelling, Griffin, Dunn, and Amello were to bring a suit on behalf of Acer



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to recover damages sustained as a result of this misconduct, they would expose themselves to

significant liability. This is something they will not do. For this reason, demand is futile as to

defendants Aselage, Schelling, Griffin, Dunn, and Amello.

       120.    Further, defendant Schelling is incapable of considering a demand to commence

and vigorously prosecute this action because he faces additional substantial likelihood of liability

as he is a named defendant in the Securities Class Action. Additionally, defendant Schelling is

not independent because his principal income comes from his employment with Acer. In 2018

alone, defendant Schelling received $550,000 from the Company in compensation.

DEMAND IS EXCUSED AS TO THE AUDIT COMMITTEE DEFENDANTS BECAUSE AS MEMBERS OF
THE AUDIT COMMITTEE THEY FACE A SUBSTANTIAL LIKELIHOOD OF LIABILITY

       121.    As members of the Audit Committee during the Relevant Period, the Audit

Committee Defendants participated in and knowingly approved filing of false financial statements

and allowed the Individual Defendants to repeatedly make other false and misleading statements

to the investing public. More specifically, as members of the Audit Committee, the Audit

Committee Defendants were obligated to oversee and monitor (a) the integrity of the Company’s

financial statements, and (b) the Company’s compliance with legal and regulatory requirements.

Instead, the Audit Committee Defendants, as members of the Audit Committee, failed to ensure

the integrity of the Company’s financial statements and financial reporting process, the Company’s

systems of internal accounting and financial controls and compliance with legal and regulatory

requirements, as required by the Audit Committee Charter. For this reason, demand is futile as to

the Audit Committee Defendants.




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                                         COUNT I
                     VIOLATION OF SECTION 14(A) OF THE EXCHANGE ACT
                             (Against the Director Defendants)

       122.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       123.    The Section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Individual Defendants. The Section 14(a) Exchange Act claims detailed herein do not allege

and do not sound in fraud. Plaintiff specifically disclaims any allegation of, reliance upon any

allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard to the

nonfraud claims.

       124.    The Director Defendants negligently issued, caused to be issued, and participated

in the issuance of materially misleading written statements to stockholders which were contained

in the 2019 Proxy. In the 2019 Proxy, the Board solicited stockholder votes to reelect certain of

the Director Defendants to the Board.

       125.    The 2019 Proxy, however, misrepresented and failed to disclose, among other

things, the Board’s risk oversight and the Company’s inadequate internal controls which facilitated

the illegal behavior described herein. By reasons of the conduct alleged herein, the Individual

Defendants violated Section 14(a) of the Exchange Act. As a direct and proximate result of these

defendants’ wrongful conduct, Acer misled and deceived its stockholders by making materially

misleading statements that were essential links in stockholders following the Company’s

recommendation and voting to reelect the Director Defendants to the Board.

       126.    Plaintiff, on behalf of Acer, thereby seeks relief for damages inflicted upon the

Company based upon the misleading 2019 Proxy in connection with the improper reelection of

defendants Aselage, Amello, Dunn, Griffin, and Schelling to the Board.


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                                              COUNT II
                                    BREACH OF FIDUCIARY DUTY
                                 (Against the Individual Defendants)

           127.   Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

           128.   Each of the Individual Defendants owed to the Company the duty to exercise

candor, good faith, and loyalty in the management and administration of Acer’s business and

affairs.

           129.   Each of the Individual Defendants violated and breached his or her fiduciary duties

of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

           130.   The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The

Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties to

protect the rights and interests of Acer.

           131.   In breach of their fiduciary duties, the Individual Defendants failed to maintain an

adequate system of oversight, disclosure controls and procedures, and internal controls.

           132.   In addition, the Individual Defendants further breached their fiduciary duties owed

to Acer by willfully or recklessly making and/or causing the Company to make false and

misleading statements and omissions of material fact and failing to disclose to investors that: (i) the

Ong Trial data were insufficient to support FDA approval based on the imbalance between the

study’s experimental and control arms, and the severe bias and underpowering of the study; and

(ii) the significant limitation of the Long-Term Observational Study in that it could not answer

“whether the systematic treatment with celiprolol has an additional genuine pharmacological

beneficial event; and (iii) communications from the FDA that the Ong Trial data were flawed and

the limited value of the Long-Term Observational Study.


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       133.    As a result of the foregoing, the Company’s public statements were materially false

and misleading at all relevant times.

       134.    The Individual Defendants failed to correct and caused the Company to fail to

rectify any of the wrongs described herein or correct the false and misleading statements and

omissions of material fact referenced herein, rendering them personally liable to the Company for

breaching their fiduciary duties.

       135.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent scheme set forth herein, and that internal controls were

not adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the fraudulent scheme and to fail to maintain adequate internal

controls, even though such facts were available to them. The Individual Defendants, in good faith,

should have taken appropriate action to correct the schemes alleged herein and to prevent them

from continuing to occur.

       136.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       137.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Acer has sustained and continues to sustain significant damages. As a result

of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       138.    Plaintiff on behalf of Acer has no adequate remedy at law.




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                                          COUNT III
                                 WASTE OF CORPORATE ASSETS
                                (Against Individual Defendants)

       139.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       140.    As a result of the Individual Defendants’ failure to implement adequate internal

controls to ensure that the Company’s SEC filings and other public statements were not

misleading, Acer is subject to the Securities Class Action. The Individual Defendants have caused

Acer to waste its corporate assets by forcing the Company to expend valuable resources in

defending itself in the ongoing litigation, in addition to any ensuing costs from a potential

settlement or adverse judgment.

       141.    As a result of this waste of corporate assets, the Company has been damaged and

the Individual Defendants are each liable to the Company.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       A.      Declaring that Plaintiff may maintain this derivative action on behalf of Acer and

that Plaintiff is a proper and adequate representative of the Company;

       B.      Awarding the amount of damages sustained by the Company as a result of the

Individual Defendants’ breaches of fiduciary duties and violations of the federal securities laws;

       C.      Granting appropriate equitable relief to remedy Individual Defendants’ breaches of

fiduciary duties and other violations of law;

       D.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees and costs and expenses; and

       E.      Granting such other and further relief as the Court deems just and proper.




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                              JURY TRIAL DEMANDED

    Plaintiff hereby demands a trial by jury.

Dated: March 17, 2020

                                                     Respectfully Submitted,

                                                     LEVI & KORSKINSKY LLP

                                                     /s/ Shannon L. Hopkins
                                                     Shannon L. Hopkins
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                                                     Telephone: (646) 860-9449

                                                     Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I, Shannon L. Hopkins, certify that this document filed through the ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants on March 17, 2020.


Dated: March 17, 2020                                  /s/Shannon L. Hopkins
                                                       Shannon L. Hopkins




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